      Case 2:11-cv-00084 Document 1304 Filed on 12/12/22 in TXSD Page 1 of 2
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                        December 12, 2022
                            UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


M.D., et al.,                                     §
         Plaintiffs,                              §
                                                  §
VS.                                               §          CIVIL ACTION NO. 2: 11-CV-84
                                                  §
GREG ABBOTT, et al.,                              §
      Defendants.                                 §

                                             ORDER

        The Court having been notified that in contravention of its existing orders, Dallas

Behavioral Hospital, a provider for the State of Texas, refused admission to the Court-appointed

monitors and their staff this morning, the Court held an instanter hearing to resolve this issue.

Dallas Behavioral Hospital agreed to access to their facility by the monitors and their staff

pursuant to the existing orders of the Court for as long and as often as the monitors deem

necessary. HHSC and DFPS have agreed to send to all providers by 5:00 o’clock p.m. today

their revised 2019 letter as approved by the monitors, instructing them of the Court’s orders and

the ability of the monitors to have access to said providers within the parameters of the Court’s

existing order.

         SIGNED and ORDERED on December 12, 2022.


                                                       _________________________________
                                                       Janis Graham Jack
                                                       Senior United States District Judge




1/2
      Case 2:11-cv-00084 Document 1304 Filed on 12/12/22 in TXSD Page 2 of 2




2/2
